                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


BRAD SIMENZ, Individually and as a putative
representative of a class,

                   Plaintiffs,

       v.                                                                   Case No.__________


AMERIHOME MORTGAGE COMPANY, L.L.C.,

                   Defendant.


                                   NOTICE OF REMOVAL


TO:    Jay A. Urban
       Urban Taylor Law Building
       4701 North Port Washington Road
       Milwaukee, WI 53212

       The Honorable David A. Hansher
       Branch 42
       Milwaukee County Courthouse
       910 North Ninth Street
       Milwaukee, WI 53233-1425

       PLEASE TAKE NOTICE that the Defendant, by its attorney, Quarles & Brady LLP,

hereby removes this case to the United States District Court for the Eastern District of Wisconsin

pursuant to 28 U.S.C. § 1453 as federal courts have original jurisdiction over this putative class

action pursuant to the Class Action Fairness Act of 2005 (codified in relevant part at 28 U.S.C. §

1332(d)), and because the other prerequisites of removal are satisfied. Defendants further states

as grounds for removal the following:




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       1.         A civil action, designated as Case No. 07-CV-5931, has been commenced and is

                  pending in the Circuit Court, Milwaukee County, State of Wisconsin, with Brad

                  Simenz as Plaintiff, and Amerihome Mortgage Company, LLC as Defendant.


       2.         The Summons and Complaint in Case No. 07-CV-5931 was filed on May 22,

                  2007, and was served on Defendant on May 30, 2007. Copies of all process,

                  pleadings and orders served on Amerihome Mortgage Company, L.L.C., are

                  attached hereto as Exhibit A.


       3.         Thirty days have not expired from the date Defendant received service of the

                  Summons and Complaint in Case No. 07-CV-5931.


       4.         Pursuant to Wis. Stat. § 803.08, Plaintiff in his Complaint alleged claims on

                  behalf of a putative class, and seeks to represent a putative class consisting of a

                  nationwide class, and more specifically "all persons who, within six (6) years

                  prior to the date of commencement of this action, closed a mortgage loan with

                  Amerihome and were charged a MERS Registration Fee in connection with a

                  mortgage loan secured by property within the State of Wisconsin.”


       5.         Case No. 07-CV-5931 is a thus civil action over which the United States District

                  Court has original jurisdiction pursuant to 28 U.S.C. § 1332(d)(2), because, as of

                  the date of the filing of the Complaint:


              (i) Plaintiff, a citizen of the State of Wisconsin, purports to represent a nationwide

              class of Plaintiffs wherein one or more members of the proposed class is a citizen




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              of a State different from that of the membership interest holders of the Defendant,

              a limited liability company;


              (ii) Defendant Amerihome Mortgage Company, L.L.C. is a limited liability

              company with three members, including Nicholas Del Torto, an individual citizen

              of Wisconsin, Kerry Pastore, an individual citizen of Illinois, and Peter

              Georgetsis, an individual citizen of Illinois; and


              (iii) by aggregating the claims of the individual class members of the proposed

              class, upon information and belief, the amount in controversy exceeds the sum or

              value of $5,000,000, exclusive of interest and costs


              (iv) contrary to the allegations of the Complaint, and based upon the business

              records of Defendant, substantially less than two-thirds of proposed class

              members are citizens of the State of Wisconsin.


       6.         Defendant has filed a copy of this Notice with the clerk for the Honorable David

                  A Hansher, Milwaukee County, State of Wisconsin, as required by 28 U.S.C. §

                  1446(d), and has served a copy of the Notice upon counsel for the Plaintiff.


       WHEREFORE, Defendant requests that No. 07-CV-5931 be removed from the Circuit

Court, Milwaukee County, State of Wisconsin and into this Court for trial and determination.




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       Dated this 29th day of June, 2007.


                                            MATTHEW J. FLYNN
                                            ANDREW P. BEILFUSS


                                            /s/ Andrew P. Beilfuss
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